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  Fill in this information to identify your case and this filing:
  Debtor 1               Richard                                          Garcia
                         First Name                  Middle Name          Last Name

  Debtor 2
  (Spouse, if filing) First Name                     Middle Name          Last Name


  United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

  Case number            17-31550-H2-13                                                                                             Check if this is an
  (if known)
                                                                                                                                    amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                       What is the property?                             Do not deduct secured claims or exemptions. Put the
5310 Woodville Lane                                        Check all that apply.                             amount of any secured claims on Schedule D:
Street address, if available, or other description             Single-family home                            Creditors Who Have Claims Secured by Property.
                                                               Duplex or multi-unit building                 Current value of the            Current value of the
                                                               Condominium or cooperative                    entire property?                portion you own?
Spring                           TX       77379                Manufactured or mobile home                               $125,000.00                  $125,000.00
City                             State    ZIP Code             Land
                                                               Investment property                           Describe the nature of your ownership
                                                               Timeshare                                     interest (such as fee simple, tenancy by the
Harris                                                                                                       entireties, or a life estate), if known.
                                                               Other
County
                                                                                                             Homestead
                                                           Who has an interest in the property?
LT 366 BLK 9
                                                           Check one.
TERRANOVA SEC 2
                                                               Debtor 1 only                                      Check if this is community property
                                                               Debtor 2 only                                      (see instructions)
                                                               Debtor 1 and Debtor 2 only
                                                               At least one of the debtors and another

                                                           Other information you wish to add about this item, such as local
                                                           property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................            $125,000.00


  Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes




Official Form 106A/B                                                   Schedule A/B: Property                                                                page 1
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Debtor 1         Richard Garcia                                                       Case number (if known)    17-31550-H2-13

3.1.                                           Who has an interest in the property?        Do not deduct secured claims or exemptions. Put the
Make:                   Jeep                   Check one.                                  amount of any secured claims on Schedule D:
                                                   Debtor 1 only                           Creditors Who Have Claims Secured by Property.
Model:                  Wrangler
                                                   Debtor 2 only                           Current value of the      Current value of the
Year:                   2009
                                                   Debtor 1 and Debtor 2 only              entire property?          portion you own?
Approximate mileage: 67,000                        At least one of the debtors and another            $19,275.00               $19,275.00
Other information:
2009 Jeep Wrangler (approx. 67,000                 Check if this is community property
miles)                                             (see instructions)

3.2.                                           Who has an interest in the property?        Do not deduct secured claims or exemptions. Put the
Make:                   Chevrolet              Check one.                                  amount of any secured claims on Schedule D:
                                                   Debtor 1 only                           Creditors Who Have Claims Secured by Property.
Model:                  Suburban
                                                   Debtor 2 only                           Current value of the      Current value of the
Year:                   1997                                                               entire property?          portion you own?
                                                   Debtor 1 and Debtor 2 only
Approximate mileage: 225,377                       At least one of the debtors and another                $800.00                  $800.00
Other information:
1997 Chevrolet Suburban (approx.                   Check if this is community property
180000 miles)                                      (see instructions)

Not in working condition
3.3.                                           Who has an interest in the property?        Do not deduct secured claims or exemptions. Put the
Make:                   Ford                   Check one.                                  amount of any secured claims on Schedule D:
                                                   Debtor 1 only                           Creditors Who Have Claims Secured by Property.
Model:                  Mustang
                                                   Debtor 2 only                           Current value of the      Current value of the
Year:                   1996                                                               entire property?          portion you own?
                                                   Debtor 1 and Debtor 2 only
Approximate mileage: 200,000                       At least one of the debtors and another             $2,000.00                 $2,000.00
Other information:
1996 Ford Mustang (approx. 200000                  Check if this is community property
miles)                                             (see instructions)

Not in working condition
3.4.                                           Who has an interest in the property?        Do not deduct secured claims or exemptions. Put the
Make:                   Ford                   Check one.                                  amount of any secured claims on Schedule D:
                                                   Debtor 1 only                           Creditors Who Have Claims Secured by Property.
Model:                  Mustang
                                                   Debtor 2 only                           Current value of the      Current value of the
Year:                   1995                                                               entire property?          portion you own?
                                                   Debtor 1 and Debtor 2 only
Approximate mileage: 200,000                       At least one of the debtors and another             $2,000.00                 $2,000.00
Other information:
1995 Ford Mustang (approx. 200000                  Check if this is community property
miles)                                             (see instructions)

Not in working condition
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes




Official Form 106A/B                                       Schedule A/B: Property                                                     page 2
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Debtor 1       Richard Garcia                                                                        Case number (if known)         17-31550-H2-13

4.1.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                      Harley                      Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                     Davidson 883
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                      1991
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Other information:                                          At least one of the debtors and another             $1,500.00                             $1,500.00
1991 Harley Davidson 883
mileage: 31,999                                             Check if this is community property
                                                            (see instructions)
Not in working condition
4.2.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                      Harley                      Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                     Davidson
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                      1994
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Other information:                                          At least one of the debtors and another             $4,000.00                             $4,000.00
1994 Harley Davidson
mileage: 37,309                                             Check if this is community property
                                                            (see instructions)
Not in working condition
5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................            $29,575.00


 Part 3:         Describe Your Personal and Household Items
                                                                                                                                           Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               See continuation page(s).                                                                                              $4,126.00

7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............
                               See continuation page(s).                                                                                                $625.00

8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
           No
           Yes. Describe............

9.   Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
               canoes and kayaks; carpentry tools; musical instruments
           No
           Yes. Describe............
                               Ammunition                                                                                                                $50.00




Official Form 106A/B                                                 Schedule A/B: Property                                                                page 3
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Debtor 1          Richard Garcia                                                                                                        Case number (if known)                    17-31550-H2-13

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe............
                                Tec-9: $150.00                                                                                                                                                                    $505.00

                                          Rifle 22: $180.00

                                          Smith&Wesson 38: $50.00

                                          Jennings 22 pistol: $25.00

                                          Baretta 22 pistol: $100.00
11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe............
                                Clothing and shoes                                                                                                                                                                $500.00

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............
                                Dog (1)                                                                                                                                                                                $1.00
                                          Cat (1)
14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................                                          $5,807.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                             Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                             portion you own?
                                                                                                                                                                                             Do not deduct secured
                                                                                                                                                                                             claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
            No
            Yes.....................................................................................................................................................................................................
                                                                                                                                                     Cash: ...........................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

            No
            Yes..............................                    Institution name:

             17.1.        Checking account:                      Bank of America Checking account #8762                                                                                                           $441.90



Official Form 106A/B                                                                         Schedule A/B: Property                                                                                                    page 4
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Debtor 1         Richard Garcia                                                                     Case number (if known)    17-31550-H2-13

            17.2.       Checking account:                First Community Credit Union Checking account (6140)                                       $175.42
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
           No
           Yes.............................. Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                   % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.             Type of account:         Institution name:
                                           Retirement account:      Fidelity Retirement account                                                   $28,072.54
                                           Retirement account:      O'Reilly Automotive, Inc. Retirement account                                     $84.38
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                     Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them




Official Form 106A/B                                                       Schedule A/B: Property                                                      page 5
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Debtor 1        Richard Garcia                                                               Case number (if known)    17-31550-H2-13

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them

Money or property owed to you?                                                                                                   Current value of the
                                                                                                                                 portion you own?
                                                                                                                                 Do not deduct secured
                                                                                                                                 claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                             Federal:
           about them, including whether
           you already filed the returns                                                                              State:
           and the tax years.....................................
                                                                                                                      Local:

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                                 Alimony:

                                                                                                          Maintenance:

                                                                                                          Support:

                                                                                                          Divorce settlement:

                                                                                                          Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
           No
           Yes. Name the insurance
           company of each policy
           and list its value................     Company name:                          Beneficiary:                      Surrender or refund value:
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
           No
           Yes. Give specific information

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
           No
           Yes. Describe each claim..............

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
           No
           Yes. Describe each claim..............




Official Form 106A/B                                                Schedule A/B: Property                                                       page 6
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Debtor 1         Richard Garcia                                                                                      Case number (if known)             17-31550-H2-13

35. Any financial assets you did not already list

            No
            Yes. Give specific information

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................    $28,774.24


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................

41. Inventory

            No
            Yes. Describe................

42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............

44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................          $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 7
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Debtor 1          Richard Garcia                                                                                     Case number (if known)             17-31550-H2-13


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................

48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................

50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................

51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................          $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

            No
            Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                            $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 8
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Debtor 1           Richard Garcia                                                                                             Case number (if known)                17-31550-H2-13


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................   $125,000.00

56. Part 2: Total vehicles, line 5                                                                                  $29,575.00

57. Part 3: Total personal and household items, line 15                                                               $5,807.00

58. Part 4: Total financial assets, line 36                                                                         $28,774.24

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................             $64,156.24              property total                 +           $64,156.24



63. Total of all property on Schedule A/B.                                                                                                                                                  $189,156.24
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                   page 9
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Debtor 1      Richard Garcia                                               Case number (if known)   17-31550-H2-13


6.   Household goods and furnishings (details):

     Sofa                                                                                                             $10.00

     5 Lamps                                                                                                          $50.00

     Entertainment center                                                                                             $20.00

     Kitchen table with chairs                                                                                       $400.00

     Dining room table with chairs                                                                                   $400.00

     China cabinet                                                                                                   $400.00

     Flatware                                                                                                         $40.00

     Pots and pans                                                                                                   $100.00

     Dishes and glasses                                                                                               $50.00

     2 Beds                                                                                                          $400.00

     Chest                                                                                                           $100.00

     Dresser                                                                                                         $100.00

     2 Armories                                                                                                      $100.00

     2 Night stands                                                                                                  $100.00

     Refrigerator                                                                                                    $250.00

     Dishwasher                                                                                                        $1.00

     Not in working condition
     Washer                                                                                                          $100.00

     Dryer                                                                                                           $100.00

     Microwave                                                                                                        $25.00

     Vacuum cleaner                                                                                                   $50.00

     2 Desks                                                                                                         $100.00

     Lawnmower                                                                                                       $100.00

     Tools                                                                                                           $500.00

     2 BBQ Pits                                                                                                       $80.00

     Books                                                                                                           $100.00

     Pictures                                                                                                        $100.00

     3 Bookcases                                                                                                     $150.00

     4 File cabinets                                                                                                 $200.00

7.   Electronics (details):

     DVD player                                                                                                       $50.00

     2 Televisions                                                                                                   $100.00

     2 Computers                                                                                                     $400.00


Official Form 106A/B                              Schedule A/B: Property                                               page 10
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Debtor 1    Richard Garcia                                        Case number (if known)   17-31550-H2-13

    3 Cell phones / tablets                                                                                 $75.00




Official Form 106A/B                     Schedule A/B: Property                                              page 11
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 Fill in this information to identify your case:
 Debtor 1             Richard                                    Garcia
                      First Name          Middle Name            Last Name
 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number          17-31550-H2-13                                                                                 amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                        $125,000.00                 $66,315.47          Const. art. 16 §§ 50, 51, Texas
5310 Woodville Lane                                                               100% of fair market     Prop. Code §§ 41.001-.002
LT 366 BLK 9                                                                      value, up to any
TERRANOVA SEC 2                                                                   applicable statutory
Line from Schedule A/B:       1.1                                                 limit

Brief description:                                         $19,275.00                  $4,583.75          Tex. Prop. Code §§ 42.001(a),
2009 Jeep Wrangler (approx. 67,000                                                100% of fair market     42.002(a)(9)
miles)                                                                            value, up to any
Line from Schedule A/B: 3.1                                                       applicable statutory
                                                                                  limit




3.   Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
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Debtor 1      Richard Garcia                                                         Case number (if known)   17-31550-H2-13

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                      $2,000.00                $2,000.00          Tex. Prop. Code §§ 42.001(a),
1995 Ford Mustang (approx. 200000 miles)                                     100% of fair market    42.002(a)(9)
                                                                             value, up to any
Not in working condition                                                     applicable statutory
Line from Schedule A/B: 3.4                                                  limit

Brief description:                                      $4,000.00                $4,000.00          Tex. Prop. Code §§ 42.001(a),
1994 Harley Davidson                                                         100% of fair market    42.002(a)(9)
mileage: 37,309                                                              value, up to any
                                                                             applicable statutory
Not in working condition                                                     limit
Line from Schedule A/B: 4.2

Brief description:                                       $10.00                    $10.00           Tex. Prop. Code §§ 42.001(a),
Sofa                                                                         100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $50.00                    $50.00           Tex. Prop. Code §§ 42.001(a),
5 Lamps                                                                      100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $20.00                    $20.00           Tex. Prop. Code §§ 42.001(a),
Entertainment center                                                         100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $400.00                  $400.00           Tex. Prop. Code §§ 42.001(a),
Kitchen table with chairs                                                    100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $400.00                  $400.00           Tex. Prop. Code §§ 42.001(a),
Dining room table with chairs                                                100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $400.00                  $400.00           Tex. Prop. Code §§ 42.001(a),
China cabinet                                                                100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $40.00                    $40.00           Tex. Prop. Code §§ 42.001(a),
Flatware                                                                     100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit


Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
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Debtor 1      Richard Garcia                                                         Case number (if known)   17-31550-H2-13

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code §§ 42.001(a),
Pots and pans                                                                100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $50.00                    $50.00           Tex. Prop. Code §§ 42.001(a),
Dishes and glasses                                                           100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $400.00                  $400.00           Tex. Prop. Code §§ 42.001(a),
2 Beds                                                                       100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code §§ 42.001(a),
Chest                                                                        100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code §§ 42.001(a),
Dresser                                                                      100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code §§ 42.001(a),
2 Armories                                                                   100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code §§ 42.001(a),
2 Night stands                                                               100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $250.00                  $250.00           Tex. Prop. Code §§ 42.001(a),
Refrigerator                                                                 100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                        $1.00                     $1.00           Tex. Prop. Code §§ 42.001(a),
Dishwasher                                                                   100% of fair market    42.002(a)(1)
                                                                             value, up to any
Not in working condition                                                     applicable statutory
Line from Schedule A/B:     6                                                limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 3
                     Case 17-31550 Document 80 Filed in TXSB on 06/18/19 Page 15 of 45


Debtor 1      Richard Garcia                                                         Case number (if known)   17-31550-H2-13

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code §§ 42.001(a),
Washer                                                                       100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code §§ 42.001(a),
Dryer                                                                        100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $25.00                    $25.00           Tex. Prop. Code §§ 42.001(a),
Microwave                                                                    100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $50.00                    $50.00           Tex. Prop. Code §§ 42.001(a),
Vacuum cleaner                                                               100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code §§ 42.001(a),
2 Desks                                                                      100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code §§ 42.001(a),
Lawnmower                                                                    100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $500.00                  $500.00           Tex. Prop. Code §§ 42.001(a),
Tools                                                                        100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $80.00                    $80.00           Tex. Prop. Code §§ 42.001(a),
2 BBQ Pits                                                                   100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code §§ 42.001(a),
Books                                                                        100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 4
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Debtor 1      Richard Garcia                                                         Case number (if known)   17-31550-H2-13

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code §§ 42.001(a),
Pictures                                                                     100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $150.00                  $150.00           Tex. Prop. Code §§ 42.001(a),
3 Bookcases                                                                  100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $200.00                  $200.00           Tex. Prop. Code §§ 42.001(a),
4 File cabinets                                                              100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $50.00                    $50.00           Tex. Prop. Code §§ 42.001(a),
DVD player                                                                   100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code §§ 42.001(a),
2 Televisions                                                                100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $400.00                  $400.00           Tex. Prop. Code §§ 42.001(a),
2 Computers                                                                  100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $75.00                    $75.00           Tex. Prop. Code §§ 42.001(a),
3 Cell phones / tablets                                                      100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $50.00                    $50.00           Tex. Prop. Code §§ 42.001(a),
Ammunition                                                                   100% of fair market    42.002(a)(8)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 5
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Debtor 1      Richard Garcia                                                         Case number (if known)   17-31550-H2-13

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $505.00                  $330.00           Tex. Prop. Code §§ 42.001(a),
Tec-9: $150.00                                                               100% of fair market    42.002(a)(7)
                                                                             value, up to any
Rifle 22: $180.00                                                            applicable statutory
                                                                             limit
Smith&Wesson 38: $50.00

Jennings 22 pistol: $25.00

Baretta 22 pistol: $100.00
Line from Schedule A/B:  10

Brief description:                                       $500.00                  $500.00           Tex. Prop. Code §§ 42.001(a),
Clothing and shoes                                                           100% of fair market    42.002(a)(5)
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit

Brief description:                                        $1.00                     $1.00           Tex. Prop. Code §§ 42.001(a),
Dog (1)                                                                      100% of fair market    42.002(a)(11)
Cat (1)                                                                      value, up to any
Line from Schedule A/B:    13                                                applicable statutory
                                                                             limit

Brief description:                                     $28,072.54               $28,072.54          11 U.S.C. § 522(b)(3)(C)
Fidelity Retirement account                                                  100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    21
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $84.38                    $84.38           11 U.S.C. § 522(b)(3)(C)
O'Reilly Automotive, Inc. Retirement                                         100% of fair market
account                                                                      value, up to any
Line from Schedule A/B: 21                                                   applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 6
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  Fill in this information to identify your case:
  Debtor 1             Richard                                      Garcia
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

  Case number          17-31550-H2-13                                                                                  Check if this is an
  (if known)
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                               $6,059.74            $19,275.00
First Community Cred Union
Creditor's name
                                                 Secured loan
PO Box 840129
Number       Street


                                                 As of the date you file, the claim is: Check all that apply.
                                                     Contingent
Houston                  TX      77284               Unliquidated
City                     State   ZIP Code
                                                     Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Secured
   to a community debt
Date debt was incurred           12/2012         Last 4 digits of account number        0     1    4    4




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                                 $6,059.74

Official Form 106D                          Schedule D: Creditors Who Have Claims Secured by Property                                         page 1
                    Case 17-31550 Document 80 Filed in TXSB on 06/18/19 Page 19 of 45


Debtor 1      Richard Garcia                                                              Case number (if known)      17-31550-H2-13

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.2                                         Describe the property that
                                              secures the claim:                               $6,358.59            $19,275.00
First Community Cred Union                    2009 Jeep
Creditor's name
PO Box 840129
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Houston                 TX      77284             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Automobile
   to a community debt
Date debt was incurred          12/2012       Last 4 digits of account number        0     1    4    3

  2.3                                         Describe the property that
                                              secures the claim:                               $2,272.92            $19,275.00
First Community Cred Union
Creditor's name
                                              Secured loan
PO Box 840129
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Houston                 TX      77284             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Credit Card
   to a community debt
Date debt was incurred          02/2013       Last 4 digits of account number        0     1    4    2




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                              $8,631.51

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 2
                    Case 17-31550 Document 80 Filed in TXSB on 06/18/19 Page 20 of 45


Debtor 1      Richard Garcia                                                              Case number (if known)      17-31550-H2-13

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.4                                         Describe the property that
                                              secures the claim:                                $865.77            $125,000.00
Harris County Tax Office                      Homestead
Creditor's name
PO Box 3547
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Houston                 TX      77253             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Property Taxes
   to a community debt
Date debt was incurred                        Last 4 digits of account number

  2.5                                         Describe the property that
                                              secures the claim:                              $5,085.62               $5,085.62
IRS
Creditor's name
                                              Secured lien
P.O. Box 21126
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Philadelphia            PA      19114             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Secured lien
   to a community debt
Date debt was incurred                        Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                             $5,951.39

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 3
                    Case 17-31550 Document 80 Filed in TXSB on 06/18/19 Page 21 of 45


Debtor 1      Richard Garcia                                                              Case number (if known)      17-31550-H2-13

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.6                                         Describe the property that
                                              secures the claim:                            $55,861.13             $125,000.00
JPMorgan Chase Bank, NA                       Homestead
Creditor's name
c/o Chase Records Center
Number     Street
ATTN: Correspondence Mail Code LA4-5555
                                              As of the date you file, the claim is: Check all that apply.
700 Kansas Lane
                                                  Contingent
Monroe                  LA      71203             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Conventional Real Estate Mortgage
   to a community debt
Date debt was incurred          05/2013       Last 4 digits of account number        7     6    7    9
Non Escrow.
  2.7                                         Describe the property that
                                              secures the claim:                               $1,420.00           $125,000.00
Klein ISD Tax office
Creditor's name
                                              Homestead
7200 Spring-Cypress Rd
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Klein                   TX      77379             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Property Taxes
   to a community debt
Date debt was incurred                        Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                           $57,281.13

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 4
                    Case 17-31550 Document 80 Filed in TXSB on 06/18/19 Page 22 of 45


Debtor 1      Richard Garcia                                                              Case number (if known)      17-31550-H2-13

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.8                                         Describe the property that
                                              secures the claim:                                $537.63            $125,000.00
LOUETTA ROAD UD                               Homestead
Creditor's name
Catherine Wheeler, Tax A/C
Number     Street
6935 Barney Rd., #110
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Houston                 TX      77092             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Property Taxes
   to a community debt
Date debt was incurred                        Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                               $537.63

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                          $78,461.40

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 5
                      Case 17-31550 Document 80 Filed in TXSB on 06/18/19 Page 23 of 45


  Fill in this information to identify your case:
  Debtor 1             Richard                                      Garcia
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

  Case number          17-31550-H2-13                                                                                   Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1                                                                                               $79,446.36         $30,119.23           $49,327.13
IRS
Priority Creditor's Name                                   Last 4 digits of account number
POB 7346                                                   When was the debt incurred?          2011-2016
Number       Street
                                                           As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Philadelphia                    PA      19101-7346             Disputed
City                            State   ZIP Code
Who incurred the debt? Check one.                          Type of PRIORITY unsecured claim:
     Debtor 1 only                                            Domestic support obligations
     Debtor 2 only                                            Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                               Claims for death or personal injury while you were
     At least one of the debtors and another                  intoxicated
     Check if this claim is for a community debt              Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1
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Debtor 1       Richard Garcia                                                                   Case number (if known)      17-31550-H2-13

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                          $5,601.19
American Express Bank, FSB                                  Last 4 digits of account number         9 2 1            6
Nonpriority Creditor's Name
                                                            When was the debt incurred?           04/04/2001
c/o Becket and Lee LLP
Number        Street                                        As of the date you file, the claim is: Check all that apply.
P.O. Box 3001                                                   Contingent
                                                                Unliquidated
                                                                Disputed
Malvern                         PA      19355
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Collecting for - American Express
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                               $0.00
AT&T Universal Card                                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P.O.Box 78045
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Phoenix                         AZ      85062
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 2
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Debtor 1       Richard Garcia                                                              Case number (if known)       17-31550-H2-13

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

   4.3                                                                                                                                        $0.00
Chase Card                                               Last 4 digits of account number      6 8        4    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/2013
Po Box 15298
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Wilmington                    DE      19850
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                                        $0.00
Chase Card                                               Last 4 digits of account number      4 1        3    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/1993
Po Box 15298
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Wilmington                    DE      19850
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                                   $15,805.43
Discover Bank                                            Last 4 digits of account number      0 5        5    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        06/1986
Discover Bank Discover Products Inc.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
P.O. Box 3025                                                Contingent
                                                             Unliquidated
                                                             Disputed
New Albany                    OH      43054
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                           page 3
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Debtor 1       Richard Garcia                                                              Case number (if known)       17-31550-H2-13

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

   4.6                                                                                                                                    $584.35
Discovery Personal Loans                                 Last 4 digits of account number      7 2        0    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?        08/2013
PO Box 30954
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Salt Lake City, UT 84130                                     Contingent
800-618-1621                                                 Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                                   $6,347.57
First National Bank Omaha                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1620 Dodge Street, Stop Code 3105
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Omaha, NE 68197                                              Contingent
402-602-6954                                                 Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                          page 4
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Debtor 1       Richard Garcia                                                              Case number (if known)       17-31550-H2-13

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

   4.8                                                                                                                                   $14,895.42
LVNV Funding LLC                                         Last 4 digits of account number      5 3        5    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/2015
Resurgent Capital Services
Number        Street                                     As of the date you file, the claim is: Check all that apply.
P.O. Box 10587                                               Contingent
                                                             Unliquidated
                                                             Disputed
Greenvillle                   SC      29603
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collecting for - Citibank
Is the claim subject to offset?
     No
     Yes
Credit Card

   4.9                                                                                                                                    $6,391.25
LVNV Funding LLC                                         Last 4 digits of account number      0 1        5    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/2014
Resurgent Capital Services
Number        Street                                     As of the date you file, the claim is: Check all that apply.
P.O. Box 10587                                               Contingent
                                                             Unliquidated
                                                             Disputed
Greenvillle                   SC      29603
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collecting for - LendingClub
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                           page 5
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Debtor 1       Richard Garcia                                                              Case number (if known)       17-31550-H2-13

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

  4.10                                                                                                                                   $3,995.00
LVNV Funding LLC                                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Resurgent Capital Services
Number        Street                                     As of the date you file, the claim is: Check all that apply.
P.O. Box 10587                                               Contingent
                                                             Unliquidated
                                                             Disputed
Greenvillle                   SC      29603
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collecting for - Citibank
Is the claim subject to offset?
     No
     Yes
credit card

  4.11                                                                                                                                      $0.00
Navient                                                  Last 4 digits of account number      1 2        0    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/2006
Po Box 9500
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Wilkes Barre                  PA      18773
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt
Is the claim subject to offset?
     No
     Yes
$25893.00




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                          page 6
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Debtor 1       Richard Garcia                                                              Case number (if known)       17-31550-H2-13

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

  4.12                                                                                                                                   $26,008.05
Navient Solutions                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
on behalf of United Student Aids Funds
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Attn: Bankruptcy Litigation Unit E3149                       Contingent
PO Box 9430                                                  Unliquidated
                                                             Disputed
Wilkes Barre                  PA      18773-9430
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Student Loan
Is the claim subject to offset?
     No
     Yes

  4.13                                                                                                                                    $1,817.98
Portfolio Recovery Associates                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 41067
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Norfolk                       VA      23541
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collecting for - Citibank/Sears Mastercard
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                                    $9,531.70
Prosper Marketplace Inc.                                 Last 4 digits of account number      8 7        3    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/2016
c/o Weinstein & Riley, PS
Number        Street                                     As of the date you file, the claim is: Check all that apply.
2001 Western Ave, Ste 400                                    Contingent
Seattle, WA 98121                                            Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                           page 7
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Debtor 1       Richard Garcia                                                              Case number (if known)       17-31550-H2-13

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

  4.15                                                                                                                                   $7,135.51
Prosper Marketplace Inc.                                 Last 4 digits of account number      6 4        8    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        02/2015
c/o Weinstein & Riley, PS
Number        Street                                     As of the date you file, the claim is: Check all that apply.
2001 Western Ave, Ste 400                                    Contingent
Seattle, WA 98121                                            Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.16                                                                                                                                      $0.00
Sears/cbna                                               Last 4 digits of account number      8 1        3    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/2001
Po Box 6283
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Sioux Falls                   SD      57117
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.17                                                                                                                                   $6,383.90
US Bank National Association                             Last 4 digits of account number      5 3        4    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        04/2016
ATTN: Bankruptcy Department
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 108                                                   Contingent
                                                             Unliquidated
                                                             Disputed
St. Louis                     MO      63166-0108
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Richard Garcia                                                              Case number (if known)    17-31550-H2-13

  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


Bankamerica                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Po Box 982238                                               Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         Credit Card                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number       2    3    6    5
El Paso                         TX      79998
City                            State   ZIP Code


Bk Of Amer                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Po Box 982238                                               Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         Credit Card                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number            1    9    1
El Paso                         TX      79998
City                            State   ZIP Code


Bk Of Amer                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Po Box 982238                                               Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         Credit Card                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number       1    6    0    0
El Paso                         TX      79998
City                            State   ZIP Code


Bk Of Amer                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Po Box 982238                                               Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         Credit Card                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number       0    6    0    8
El Paso                         TX      79998
City                            State   ZIP Code


Cap1/comp                                                   On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Po Box 15524                                                Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         Charge Account                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number       5    1    2    9
Wilmington                      DE      19850
City                            State   ZIP Code




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Debtor 1      Richard Garcia                                                        Case number (if known)    17-31550-H2-13

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Cbna                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Po Box 6283                                          Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                   Credit Card                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number       8    7    2    2
Sioux Falls                 SD      57117
City                        State   ZIP Code


Chase Auto                                           On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Po Box 901003                                        Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                   Automobile                          Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number       4    7    0    1
Ft Worth                    TX      76101
City                        State   ZIP Code


Dsnb Macys                                           On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Po Box 8218                                          Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                   Charge Account                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number       5    5    4    0
Mason                       OH      45040
City                        State   ZIP Code


Fnb Omaha                                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Po Box 3412                                          Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                   Credit Card                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number       0    0    9    6
Omaha                       NE      68103
City                        State   ZIP Code


Kohls/capone                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Name
N56 W 17000 Ridgewood Dr                             Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                   Charge Account                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number       2    6    2    7
Menomonee Falls             WI      53051
City                        State   ZIP Code


Regions Bank                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Po Box 11007                                         Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                   Recreational                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number       7    2    8    9
Birmingham                  AL      35288
City                        State   ZIP Code




Official Form 106E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                          page 10
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Debtor 1     Richard Garcia                                                         Case number (if known)    17-31550-H2-13

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Syncb/care Credit                                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
950 Forrer Blvd                                      Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                   Charge Account                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number       3    2    3    9
Kettering                   OH      45420
City                        State   ZIP Code


Syncb/gap                                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Po Box 965005                                        Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                   Charge Account                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number       2    0    1    1
Orlando                     FL      32896
City                        State   ZIP Code


Syncb/linen N Things                                 On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Po Box 965005                                        Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                   Charge Account                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number       4    1    0    4
Orlando                     FL      32896
City                        State   ZIP Code


Syncb/lowes                                          On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Po Box 965005                                        Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                   Charge Account                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number       8    8    6    7
Orlando                     FL      32896
City                        State   ZIP Code


Syncb/lowes                                          On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Po Box 965005                                        Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                   Charge Account                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number       4    0    4    0
Orlando                     FL      32896
City                        State   ZIP Code




Official Form 106E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                          page 11
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Debtor 1       Richard Garcia                                                          Case number (if known)        17-31550-H2-13

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                               Total claim

Total claims      6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                  6b. Taxes and certain other debts you owe the government                           6b.             $79,446.36

                  6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                  6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +                 $0.00


                  6e. Total.     Add lines 6a through 6d.                                            6d.             $79,446.36




                                                                                                               Total claim

Total claims      6f.   Student loans                                                                6f.                     $0.00
from Part 2
                  6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                      that you did not report as priority claims

                  6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                      debts

                  6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +        $104,497.35


                  6j.   Total.   Add lines 6f through 6i.                                            6j.            $104,497.35




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                       page 12
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 Fill in this information to identify your case:
     Debtor 1              Richard                                     Garcia
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2                                                                                                   An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing postpetition
     United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF TEXAS
                                                                                                                chapter 13 income as of the following date:
     Case number           17-31550-H2-13
     (if known)
                                                                                                                MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             Sales                                              Associate
      Include part-time, seasonal,
      or self-employed work.            Employer's name        OReilly Auto                                       Walmart

      Occupation may include            Employer's address     233 S. Patterson                                   702 S.W. 8th Street
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               Springfield                  MO      65802         Bentonville            AR      72716
                                                               City                         State   Zip Code      City                   State   Zip Code

                                        How long employed there?        3 years                                           5 years

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                  $488.89               $2,069.41
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                      3.   +              $0.00                   $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.               $488.89               $2,069.41




Official Form 106I                                            Schedule I: Your Income                                                                page 1
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Debtor 1        Richard Garcia                                                                                                     Case number (if known)    17-31550-H2-13
                                                                                                                      For Debtor 1             For Debtor 2 or
                                                                                                                                               non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.                  $488.89       $2,069.41
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                        5a.                $37.40              $206.85
     5b. Mandatory contributions for retirement plans                                                         5b.                 $0.00               $62.08
     5c. Voluntary contributions for retirement plans                                                         5c.                $18.70                $0.00
     5d. Required repayments of retirement fund loans                                                         5d.                 $0.00                $0.00
     5e. Insurance                                                                                            5e.                 $0.00              $413.40
     5f. Domestic support obligations                                                                         5f.                 $0.00                $0.00
     5g. Union dues                                                                                           5g.                 $0.00                $0.00
     5h. Other deductions.
          Specify: Disability Insurance                                                                       5h. +                $0.00              $33.32
6.   Add the payroll deductions.                  Add lines 5a + 5b + 5c + 5d + 5e + 5f +                     6.                 $56.10              $715.65
     5g + 5h.
7.   Calculate total monthly take-home pay.                          Subtract line 6 from line 4.             7.               $432.79             $1,353.76
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                                 8a.                  $0.00                $0.00
          business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.
     8b. Interest and dividends                                                                               8b.                  $0.00                $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                          8c.                  $0.00                $0.00
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                            8d.                  $0.00                $0.00
     8e. Social Security                                                                                      8e.                  $0.00                $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                             8f.                  $0.00                $0.00
     8g. Pension or retirement income                                                                         8g.              $521.47                  $0.00
     8h. Other monthly income.
         Specify: Contracts with Taylor Adjusting & IDEAL                                                     8h. +         $1,500.00                   $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                   9.            $2,021.47                   $0.00

10. Calculate monthly income. Add line 7 + line 9.                             10.     $2,454.26 +         $1,353.76 =                                                     $3,808.02
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                               11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                               12.            $3,808.02
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                     Combined
                                                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
            Yes. Explain:




Official Form 106I                                                                Schedule I: Your Income                                                                       page 2
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 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Richard                                       Garcia                              An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF TEXAS                                     MM / DD / YYYY
     Case number           17-31550-H2-13
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                  Step Son                            21 years
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                     $840.55
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.                    $236.00

      4b. Property, homeowner's, or renter's insurance                                                               4b.                    $138.00

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.                     $40.00
      4d. Homeowner's association or condominium dues                                                                4d.                     $33.33




 Official Form 106J                                             Schedule J: Your Expenses                                                        page 1
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Debtor 1      Richard Garcia                                                           Case number (if known)   17-31550-H2-13
                                                                                                          Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                     5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                             6a.                   $200.00
     6b. Water, sewer, garbage collection                                                           6b.                    $80.00
     6c. Telephone, cell phone, Internet, satellite, and                                            6c.                   $291.90
         cable services
     6d. Other. Specify:                                                                            6d.

7.   Food and housekeeping supplies                                                                 7.                    $300.00
8.   Childcare and children's education costs                                                       8.

9.   Clothing, laundry, and dry cleaning                                                            9.                     $10.00
10. Personal care products and services                                                             10.

11. Medical and dental expenses                                                                     11.                    $50.00
12. Transportation. Include gas, maintenance, bus or train                                          12.                    $70.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                   13.
    magazines, and books
14. Charitable contributions and religious donations                                                14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                          15a.                    $9.00
     15b.   Health insurance                                                                        15b.                  $850.00
     15c.   Vehicle insurance                                                                       15c.                  $199.89
     15d.   Other insurance. Specify:                                                               15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                        16.

17. Installment or lease payments:

     17a.   Car payments for Vehicle 1    2009 Jeep                                                 17a.                  $458.48
     17b.   Car payments for Vehicle 2                                                              17b.

     17c.   Other. Specify:                                                                         17c.

     17d.   Other. Specify:                                                                         17d.

18. Your payments of alimony, maintenance, and support that you did not report as                   18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                        19.




 Official Form 106J                                        Schedule J: Your Expenses                                         page 2
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Debtor 1      Richard Garcia                                                                   Case number (if known)   17-31550-H2-13
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                      20a.

    20b.    Real estate taxes                                                                                20b.

    20c.    Property, homeowner's, or renter's insurance                                                     20c.

    20d.    Maintenance, repair, and upkeep expenses                                                         20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify:                                                                                          21.    +
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.               $3,807.15
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.               $3,807.15

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.               $3,808.02
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –           $3,807.15
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.                   $0.87

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                None.




 Official Form 106J                                         Schedule J: Your Expenses                                                page 3
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 Fill in this information to identify your case:
 Debtor 1           Richard                                  Garcia
                    First Name          Middle Name          Last Name

 Debtor 2
 (Spouse, if filing) First Name         Middle Name          Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number        17-31550-H2-13                                                                           Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Richard Garcia                                   X
        Richard Garcia, Debtor 1                               Signature of Debtor 2

        Date 06/18/2019                                        Date
             MM / DD / YYYY                                           MM / DD / YYYY




Official Form 106Dec                        Declaration About an Individual Debtor's Schedules                                         page 1
                    Case 17-31550 Document 80 Filed in TXSB on 06/18/19 Page 41 of 45


 Fill in this information to identify your case:
 Debtor 1              Richard                                    Garcia
                       First Name         Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name             Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number           17-31550-H2-13                                                                                          Check if this is an
 (if known)
                                                                                                                               amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                               12/15

If you are an individual filing under chapter 7, you must fill out this form if:

     creditors have claims secured by your property, or

     you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


 Part 1:           List Your Creditors Who Hold Secured Claims

1.    For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
      fill in the information below.

      Identify the creditor and the property that is collateral         What do you intend to do with the            Did you claim the property
                                                                        property that secures a debt?                as exempt on Schedule C?

      Creditor's        First Community Cred Union                            Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    Secured loan                                          Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:


      Creditor's        First Community Cred Union                            Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    2009 Jeep                                             Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:


      Creditor's        First Community Cred Union                            Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    Secured loan                                          Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:




Official Form 108                         Statement of Intention for Individuals Filing Under Chapter 7                                     page 1
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Debtor 1     Richard Garcia                                                           Case number (if known)     17-31550-H2-13

    Identify the creditor and the property that is collateral       What do you intend to do with the            Did you claim the property
                                                                    property that secures a debt?                as exempt on Schedule C?
    Creditor's       IRS                                                 Surrender the property.                      No
    name:                                                                Retain the property and redeem it.           Yes
    Description of   Secured lien                                        Retain the property and enter into a
    property                                                             Reaffirmation Agreement.
    securing debt:                                                       Retain the property and [explain]:


    Creditor's       JPMorgan Chase Bank, NA                             Surrender the property.                      No
    name:                                                                Retain the property and redeem it.           Yes
    Description of   Homestead                                           Retain the property and enter into a
    property                                                             Reaffirmation Agreement.
    securing debt:                                                       Retain the property and [explain]:



 Part 2:         List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

    Describe your unexpired personal property leases                                                            Will this lease be assumed?

    Lessor's name:        Direct TV                                                                                 No
    Description of leased Satellite TV Contract                                                                     Yes
    property:


    Lessor's name:        Verizon                                                                                   No
    Description of leased Cell phone and internet services.                                                         Yes
    property:



 Part 3:         Sign Below

   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
   personal property that is subject to an unexpired lease.

X /s/ Richard Garcia                                   X
   Richard Garcia, Debtor 1                                Signature of Debtor 2

   Date 06/18/2019                                         Date
        MM / DD / YYYY                                            MM / DD / YYYY




Official Form 108                       Statement of Intention for Individuals Filing Under Chapter 7                                  page 2
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 Fill in this information to identify your case:                                             Check one box only as directed in this
                                                                                             form and in Form 122A-1Supp:
 Debtor 1           Richard                                    Garcia
                    First Name           Middle Name           Last Name                       1. There is no presumption of abuse.

 Debtor 2                                                                                      2. The calculation to determine if a presumption
 (Spouse, if filing) First Name          Middle Name           Last Name                          of abuse applies will be made under Chapter 7
                                                                                                  Means Test Calculation (Official Form 122A-2).
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS
                                                                                               3. The Means Test does not apply now because
 Case number        17-31550-H2-13                                                                of qualified military service but it could apply
 (if known)                                                                                       later.

                                                                                                 Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                            12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known). If you believe that you
are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form
122A-1Supp) with this form.


 Part 1:       Calculate Your Current Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

          Married and your spouse is NOT filing with you. You and your spouse are:

               Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

               Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you
               declare under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you
               and your spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).


     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A        Column B
                                                                                            Debtor 1        Debtor 2 or
                                                                                                            non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions                        $975.99            $2,154.29
     (before all payroll deductions).

3.   Alimony and maintenance payments. Do not include payments from a spouse                       $0.00               $0.00
     if Column B is filled in.

4.   All amounts from any source which are regularly paid for household                            $0.00               $0.00
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Include regular contributions from
     a spouse only if Column B is not filled in. Do not include payments you listed
     on line 3.




Official Form 122A-1                         Chapter 7 Statement of Your Current Monthly Income                                               page 1
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Debtor 1        Richard Garcia                                                                                                      Case number (if known) 17-31550-H2-13

                                                                                                                                         Column A        Column B
                                                                                                                                         Debtor 1        Debtor 2 or
                                                                                                                                                         non-filing spouse

5.   Net income from operating a business, profession, or farm

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all                                            $0.00                          $0.00
     deductions)

     Ordinary and necessary operating                     –                $0.00         –                $0.00
     expenses
                                                                                                                       Copy
     Net monthly income from a business,                                   $0.00                          $0.00 here                             $0.00            $0.00
     profession, or farm

6.   Net income from rental and other real property

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all                                            $0.00                          $0.00
     deductions)

     Ordinary and necessary operating                     –                $0.00         –                $0.00
     expenses
                                                                                                                       Copy
     Net monthly income from rental or                                     $0.00                          $0.00 here                             $0.00            $0.00
     other real property

7.   Interest, dividends, and royalties                                                                                                          $0.00            $0.00
8.   Unemployment compensation                                                                                                                   $0.00            $0.00
     Do not enter the amount if you contend that the amount received was a
     benefit under the Social Security Act. Instead, list it here: ...............................................

                                                                                                              $0.00
         For you............................................................................................................................

                                                                                                         $0.00
         For your spouse..............................................................................................................

9.   Pension or retirement income. Do not include any amount received that                                                                     $521.53            $0.00
     was a benefit under the Social Security Act.

10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act
    or payments received as a victim of a war crime, a crime against humanity,
    or international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total below.




     Total amounts from separate pages, if any.                                                                                   +                      +
11. Calculate your total current monthly income.
    Add lines 2 through 10 for each column.                                                                                                $1,497.52     +   $2,154.29    =      $3,651.81
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                             Total current
                                                                                                                                                                             monthly income




Official Form 122A-1                                             Chapter 7 Statement of Your Current Monthly Income                                                                   page 2
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Debtor 1       Richard Garcia                                                                                     Case number (if known) 17-31550-H2-13

 Part 2:         Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a.                                                                                                                                                                       $3,651.81
            Copy your total current monthly income from line 11....................................................................................................................
                                                                                                                       Copy line 11 here                       12a.

            Multiply by 12 (the number of months in a year).                                                                                                             X       12

    12b.    The result is your annual income for this part of the form.                                                                                         12b.         $43,821.72

13. Calculate the median family income that applies to you. Follow these steps:

    Fill in the state in which you live.                                               Texas

    Fill in the number of people in your household.                                        2

                                                                                                                                                                       $65,429.00
    Fill in the median family income for your state and size of household......................................................................................................................
                                                                                                                                                          13.
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.


14. How do the lines compare?

    14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                   Go to Part 3.
    14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                   Go to Part 3 and fill out Form 122A-2.


 Part 3:         Sign Below

      By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


      X    /s/ Richard Garcia                                                                       X
           Richard Garcia, Debtor 1                                                                      Signature of Debtor 2

           Date 6/18/2019                                                                                Date
                MM / DD / YYYY                                                                                    MM / DD / YYYY

      If you checked line 14a, do NOT fill out or file Form 122A-2.

      If you checked line 14b, fill out Form 122A-2 and file it with this form.




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